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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


IN RE UBIQUITI NETWORKS, INC.                             No. 1:18-cv-01620 (VM)
SECURITIES LITIGATION
                                                          Class Action
THIS DOCUMENT RELATES TO: ALL CASES


     [PROPOSED] ORDER OF FINAL DISTRIBUTION OF SETTLEMENT FUND

          By Final Judgment Approving Class Action Settlement and Order of Dismissal With

Prejudice dated March 27, 2020 (Dkt. No. 49, the “Final Order”), this Court approved, inter alia,

(i) the terms of the Stipulation of Settlement dated December 2, 2019 (Dkt. No. 39-1, the

“Stipulation”), whereby Defendants agreed to pay $15,000,000 (the “Settlement Fund”); (ii) a

Plan of Allocation for distribution of the Net Settlement Fund; and (iii) the award of fees and

expenses to Lead Counsel.1

          The court-approved settlement administrator, JND Legal Administration (“JND”), has

determined that 2,2272 valid claims representing Recognized Losses of $34,822,957.20 were

filed on the Settlement Fund with Recognized Claims under the Plan of Allocation representing a

gross recovery of approximately 43%3 and a net recovery of approximately26%4 for all valid

claims.




1
  Unless otherwise indicated, all capitalized terms herein have the same meanings as set forth in
the Stipulation.
2
  This number includes 2,171 timely filed valid claims and 56 late but otherwise valid claims.
3
  The $15,000,000 Settlement amount divided by $34,822,957.20 of Recognized Claims.
4
   The net recovery represents the total amount available for distribution to valid claimants of
$9,153,612.32 (see below) divided by total Recognized Claims of $34,822,957.20.
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        The Net Settlement Fund (after payment of all court approved attorneys’ fees, expenses,

compensatory awards, and Administrative Costs) will total $9,153,612.32.5 JND’s administrative

fees and expenses (Administrative Costs) totaled $774,683.04 in connection with the services

performed in giving Class Notice, preparing tax returns for the Settlement Fund, processing Proofs

of Claims, and communicating with Settlement Class Members, $250,000 of which has already

been paid from the Notice Administration Fund.

        This Court has authorized and directed the parties to implement all of the terms and

provisions of the Stipulation; and

        This Court has retained jurisdiction over this Action for the purpose of considering any

further application or matter that may arise in connection with the administration and execution

of the Settlement, the processing of Proofs of Claims, and the distribution of the Net Settlement

Fund.

        NOW, THEREFORE, upon consideration of Lead Plaintiff’s Motion to Distribute the

Settlement Fund (the “Motion”), the Memorandum of Law in Support of the Motion, the

Declaration of Luiggy Segura in Support of Lead Plaintiff’s Motion for Approval of Distribution

Plan (“Segura Declaration”), and upon all prior proceedings herein, and after due deliberation;

IT IS HEREBY ORDERED THAT:

        1. Lead Plaintiff’s Motion is granted;

        2. Distribution of the Net Settlement Fund, as set forth in the Segura Declaration, will

            commence no later than thirty (30) calendar days after entry of this Order;


5
  This represents the Settlement Amount of $15,000,000, plus interest of $35,699.17, less the
following: legal fees and expenses, plus interest, of $5,102,403.81; payments to the Lead
Plaintiff of $5,000; and administrative fees and expenses (Administrative Costs) of $250,000
already paid and $524,683.04 still outstanding for work already completed.



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3. JND’s determinations accepting the claims, as indicated in Exhibits C and D to the

   Segura Declaration, are approved, and said claims are hereby accepted;

4. JND’s determination rejecting the claims, as indicated in Exhibit E to the Segura

   Declaration, are approved, and said claims are hereby rejected, including the

   rejection of Claim DUCNV-QX9HK. Upon review, the Court agrees with JND’s

   determination (as described in ¶ 36 of the Segura Declaration) that Claim

   DUCNV-QX9HK does not calculate to a Recognized Claim pursuant to the Plan of

   Allocation and thus        agrees   with   JND’s    determination to     reject   Claim

   DUCNV-QX9HK;

5. Any claims filed after July 15, 2020 are hereby barred, subject to the terms of ¶ 39 of

   the Segura Declaration;

6. JND will conduct an initial distribution (the “Initial Distribution,” as defined in

   Paragraph 50(a) of the Segura Declaration) of the Net Settlement Fund, after

   deducting (a) its outstanding fees and expenses described in Paragraph 9 below and

   (b) payment of any estimated taxes, the costs of preparing appropriate tax returns,

   and any escrow fees, if any;

7. No earlier than six (6) months from the date of the Initial Distribution, any unclaimed,

   residual balance in the Net Settlement Fund after the Initial Distribution, after paying

   any amounts mistakenly omitted from the initial disbursement, and after deducting

   the payment of any estimated taxes, the costs of preparing appropriate tax returns,

   and any escrow fees, if any, shall be redistributed to all Claimants who have cashed

   their checks from the Initial Distribution and whose proportionate share of the

   remaining Net Settlement Fund is $10.00 or more. Additional distributions, after




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   deduction of costs and expenses as described in this paragraph, and subject to the

   same conditions, may occur thereafter in 6-month intervals until Lead Counsel, in

   consultation with JND, determines that further distribution is not cost-effective;

8. Thereafter, if any sums remain unclaimed, and the unclaimed amount is not sufficiently

   large to warrant further distribution as described in ¶ 50(e) of the Segura Declaration,

   the balance shall be paid in equal amounts to the Institute for Law and Economic

   Policy;

9. JND will be paid outstanding fees and expenses in the amount of $524,683.04;

10. All persons involved in the review, verification, calculation, tabulation, or any other

   aspect of the processing of the claims submitted herein or otherwise involved in the

   administration or taxation of the Settlement Fund or the Net Settlement Fund are

   released and discharged from any and all claims arising out of such involvement, and

   all Settlement Class Members, whether or not they are to receive payment from the

   Net Settlement Fund, are barred from making any further claim against the Net

   Settlement Fund or the released persons beyond the amount allocated to them pursuant

   to this Court’s order;

11. One year after the Second Distribution, if that occurs, or, if there is no Second

   Distribution, two years after the Initial Distribution (as those terms are defined in the

   Segura Declaration), JND may destroy the paper copies of the Claims and all

   supporting documentation, and one year after all funds have been distributed, JND

   may destroy electronic copies of the same; and

12. This Court shall retain jurisdiction over any further application or matter that may

   arise in connection with this Action.




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SO ORDERED:



DATED: ________________________




                                   _________________________________
                                   UNITED STATES DISTRICT JUDGE
                                         HON. VICTOR MARRERO




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